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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/894908228" data-vids="894908228" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;44 P.3d 1033&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;b class="ldml-bold"&gt;
v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Russell S. RATH&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;No. 99SC916&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;April 8, 2002&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;Rehearing Denied April 29, 2002&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;/div&gt;
 &lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="198" class="ldml-paragraph no-indent mt-2"&gt;&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_198" data-val="1036" data-vol="44"&gt;&lt;/span&gt; &lt;span data-paragraph-id="198" data-sentence-id="199" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Ken Salazar&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Paul Koehler&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Denver, CO&lt;/span&gt;, Attorney for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="309" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="309" data-sentence-id="317" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;David S. Kaplan&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Colorado State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Julie Iskenderian&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Denver, CO&lt;/span&gt;, Attorney for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="452" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (COATS)"&gt;&lt;span data-paragraph-id="452" data-sentence-id="460" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;COATS&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="510" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="510" data-sentence-id="518" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; sought review of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' judgment reversing &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s convictions for first degree sexual assault and second degree kidnapping.&lt;/span&gt; &lt;span data-paragraph-id="510" data-sentence-id="677" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; found that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in admitting evidence of two prior instances of uncharged misconduct by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, involving two other young women, primarily because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; conceded &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was the person who gave the victim a ride on the day in question and because it considered the other acts insufficiently similar to the current charge.&lt;/span&gt; &lt;span data-paragraph-id="510" data-sentence-id="1063" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion in admitting the evidence of these other acts pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and therefore &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; and remand with instructions to reinstate &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s convictions.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label=" I. FACTUAL AND PROCEDURAL BACKGROUND
" data-ordinal_start="1" data-value="I. FACTUAL AND PROCEDURAL BACKGROUND" data-confidences="very_high" data-ordinal_end="1" data-id="heading_1324" data-parsed="true" data-types="background" data-specifier="I" id="heading_1324" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="1324" class="ldml-paragraph "&gt; &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="1324" data-sentence-id="1332" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="1324" data-sentence-id="1335" class="ldml-sentence"&gt;FACTUAL AND PROCEDURAL BACKGROUND&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1369" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1369" data-sentence-id="1377" class="ldml-sentence"&gt;The charges against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; arose from the alleged rape of fifteen-year-old T.C.&lt;/span&gt; &lt;span data-paragraph-id="1369" data-sentence-id="1464" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt;'s theory was that just before noon on &lt;span class="ldml-entity"&gt;October 18, 1995&lt;/span&gt;, while walking home from school on a rural mountain road in &lt;span class="ldml-entity"&gt;Jefferson County&lt;/span&gt; near Nederland, the victim was offered a ride by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, taken to a secluded dirt road, dragged down a hillside, and raped by him.&lt;/span&gt; &lt;span data-paragraph-id="1369" data-sentence-id="1750" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; presented its case at trial largely through the testimony of the victim; relatives, police, and hospital personnel to whom &lt;span class="ldml-entity"&gt;she&lt;/span&gt; reported the assault; and coworkers of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to whom &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had given contradictory accounts of the incident.&lt;/span&gt; &lt;span data-paragraph-id="1369" data-sentence-id="2007" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; also presented the testimony of four other women, each of whom was approached on a public street by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, offered a ride, taken to a secluded place, and allegedly subjected to some form of attempted or completed sexual assault.&lt;/span&gt; &lt;span data-paragraph-id="1369" data-sentence-id="2260" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not testify at trial, his contention that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had merely given the victim a ride and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was a &lt;span class="ldml-quotation quote"&gt;"pathological liar,"&lt;/span&gt; who fabricated the sexual encounter to get attention from family members, was presented through cross-examination, defense witnesses to the lack of corroborating physical evidence, and his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s opening and closing statements.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2638" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2638" data-sentence-id="2646" class="ldml-sentence"&gt;As the only admitted witness of the attack, the victim provided the only first-hand testimony about the details of the currently charged assault.&lt;/span&gt; &lt;span data-paragraph-id="2638" data-sentence-id="2792" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; testified at trial that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; accepted &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s offer of a ride to a point near her home.&lt;/span&gt; &lt;span data-paragraph-id="2638" data-sentence-id="2891" class="ldml-sentence"&gt;Upon arriving there &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; refused to stop, saying that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; needed to go to the store and would then take her back to where &lt;span class="ldml-entity"&gt;she&lt;/span&gt; wanted to go.&lt;/span&gt; &lt;span data-paragraph-id="2638" data-sentence-id="3039" class="ldml-sentence"&gt;Instead of going to a store, however, the victim testified that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; took her to a secluded dirt road where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; stopped the vehicle and told her that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wanted to show her something in the woods.&lt;/span&gt; &lt;span data-paragraph-id="2638" data-sentence-id="3243" class="ldml-sentence"&gt;While &lt;span class="ldml-entity"&gt;she&lt;/span&gt; at first refused to get out of the truck, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; eventually relented, whereupon &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; physically dragged her down the adjacent hillside and forcefully sexually assaulted her by vaginal intercourse.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3456" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3456" data-sentence-id="3464" class="ldml-sentence"&gt;Among other details, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; removed all of their clothing except his shirt and commented during the assault that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had a &lt;span class="ldml-quotation quote"&gt;"nice mole"&lt;/span&gt; on her leg.&lt;/span&gt; &lt;span data-paragraph-id="3456" data-sentence-id="3637" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; also testified that following the assault, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; accepted a ride from &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to a point near her destination where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; apologized for his conduct, saying that next time &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would not do this sort of thing, and allowed her to leave.&lt;/span&gt; &lt;span data-paragraph-id="3456" data-sentence-id="3876" class="ldml-sentence"&gt;After walking home, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; vomited and immediately undressed to shower, finding a twenty dollar &lt;span class="ldml-entity"&gt;bill&lt;/span&gt; in her pant leg that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not have before the assault.&lt;/span&gt; &lt;span data-paragraph-id="3456" data-sentence-id="4032" class="ldml-sentence"&gt;After showering, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; called family members and eventually the police.&lt;/span&gt;
 &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_4110" data-val="1037" data-vol="44"&gt;&lt;/span&gt; &lt;span data-paragraph-id="3456" data-sentence-id="4111" class="ldml-sentence"&gt;The subsequent emergency room examination produced no physical evidence of sexual assault.&lt;/span&gt; &lt;span data-paragraph-id="3456" data-sentence-id="4202" class="ldml-sentence"&gt;Similarly, the defense produced evidence indicating that the tire tracks found on the road near the scene identified by the victim did not match the tires on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s truck at the time the police made contact with him several weeks later and evidence challenging the feasibility of the victim's time estimates.&lt;/span&gt; &lt;span data-paragraph-id="3456" data-sentence-id="4520" class="ldml-sentence"&gt;There was, however, bruising on the victim's shins where &lt;span class="ldml-entity"&gt;she&lt;/span&gt; claimed &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; sat while pulling off her clothing and an indentation on her abdomen that could have been caused by weight pressing against her cigarette package.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4750" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4750" data-sentence-id="4758" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; also presented the testimony of the four women who claimed to have been picked up and taken to a secluded location during a ten-month period in &lt;span class="ldml-entity"&gt;1981&lt;/span&gt;-82, when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were between twelve and twenty years old, by someone later identified as &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4750" data-sentence-id="5025" class="ldml-sentence"&gt;Although the details of the incidents varied, each began with the offer of a ride from &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, which the young women accepted either voluntarily or as the result of threats, followed by a drive to a secluded location and some indication by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; that his intent was to have sexual relations.&lt;/span&gt; &lt;span data-paragraph-id="4750" data-sentence-id="5332" class="ldml-sentence"&gt;In two of &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt;, the women were actually sexually assaulted by penetration; in a third case the woman, L.L., testified that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; physically forced her into the back of his camper, climbed on top of her, and fondled her breasts, until her resistance and crying led &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to let her go to find her own way home; and in the last case, the twelve-year-old girl, to whom &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had given five dollars to allow herself to be photographed, fled when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; crawled into his truck bed and enticingly invited her to join him to see his camera.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5891" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5891" data-sentence-id="5899" class="ldml-sentence"&gt;In three of &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; showed the women a camera and either took photos or described his interest in taking photos of young women and either gave the young women a small amount of money as an enticement or left a small amount of money with them after the assault.&lt;/span&gt; &lt;span data-paragraph-id="5891" data-sentence-id="6177" class="ldml-sentence"&gt;In the two &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; in which &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was able to complete the sexual penetration &lt;span class="ldml-parenthetical"&gt;(one by vaginal intercourse and the other by forced fellatio)&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; removed all of his clothing but his shirt and managed to partially or completely disrobe his victim, commenting about some physical feature that became visible — in one case a scar and the other the woman's &lt;span class="ldml-quotation quote"&gt;"fuzzy,"&lt;/span&gt; unshaved legs.&lt;/span&gt; &lt;span data-paragraph-id="5891" data-sentence-id="6569" class="ldml-sentence"&gt;After each completed assault, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was conciliatory or matter-of-fact about doing this sort of thing and offered to drive the victim where &lt;span class="ldml-entity"&gt;she&lt;/span&gt; wanted to go.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6735" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6735" data-sentence-id="6743" class="ldml-sentence"&gt;The jury found &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; guilty of both second degree kidnapping and first degree sexual assault, for which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was sentenced to concurrent terms of sixteen and eight years, respectively.&lt;/span&gt; &lt;span data-paragraph-id="6735" data-sentence-id="6934" class="ldml-sentence"&gt;On direct appeal, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed, holding that although evidence of two of the prior sexual transactions involving &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; were properly admitted, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in admitting the other two.&lt;/span&gt; &lt;span data-paragraph-id="6735" data-sentence-id="7168" class="ldml-sentence"&gt;It held that the admission of the incidents involving the women identified as L.L. and P.B., in which the encounters ended short of sexual penetration, was error because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not related to the occurrence of sexual intercourse, which it considered the only &lt;span class="ldml-quotation quote"&gt;"contested"&lt;/span&gt; issue at trial, and because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not &lt;span class="ldml-quotation quote"&gt;"sufficiently substantially similar &lt;span class="ldml-parenthetical"&gt;[to the current charges]&lt;/span&gt; to be introduced under CRE &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7168"&gt;404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; and &lt;span class="ldml-cite"&gt;§ 16-10-301&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S.&lt;span class="ldml-entity"&gt;1998&lt;/span&gt;."&lt;/span&gt;&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="6735" data-sentence-id="7609" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7609" data-refglobal="case:peoplevrath,no96ca1773"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Rath&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;No. 96CA1773&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, slip op. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7609"&gt;&lt;span class="ldml-cite"&gt;at 1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;June 3, 1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label=" II. ADMISSIBILITY OF UNCHARGED MISCONDUCT EVIDENCE
" data-ordinal_start="2" data-value="II. ADMISSIBILITY OF UNCHARGED MISCONDUCT EVIDENCE" data-ordinal_end="2" data-id="heading_7679" data-parsed="true" data-specifier="II" id="heading_7679" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="7679" class="ldml-paragraph "&gt; &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="7679" data-sentence-id="7687" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="7679" data-sentence-id="7691" class="ldml-sentence"&gt;ADMISSIBILITY OF UNCHARGED MISCONDUCT EVIDENCE&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7738" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7738" data-sentence-id="7746" class="ldml-sentence"&gt;The admissibility of evidence of uncharged criminal misconduct is expressly limited by &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_7833" data-val="1038" data-vol="44"&gt;&lt;/span&gt; the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7746"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="7738" data-sentence-id="7866" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, evidence of other crimes, wrongs, or acts is not admissible to prove the character of a person in order to show that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted in conformity with that character on a particular occasion.&lt;/span&gt; &lt;span data-paragraph-id="7738" data-sentence-id="8077" class="ldml-sentence"&gt;The rule is in accord with the long-standing policy of the English and American law of evidence that when evidence is admitted for this purpose, which is sometimes characterized as the propensity of the accused to commit crime, even though it may be logically relevant in some measure, the prejudicial effect of the evidence always outweighs its probative value, and it is, for that reason, always inadmissible.&lt;/span&gt; &lt;span data-paragraph-id="7738" data-sentence-id="8489" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8077"&gt;&lt;span class="ldml-cite"&gt;1A Wigmore, &lt;i class="ldml-italics"&gt;Evidence&lt;/i&gt; § 58.2, at 1212&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Tillers rev. &lt;span class="ldml-entity"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7738" data-sentence-id="8547" class="ldml-sentence"&gt;When offered for any other purpose, however, the evidence is not necessarily barred.&lt;/span&gt; &lt;span data-paragraph-id="7738" data-sentence-id="8632" class="ldml-sentence"&gt;The rule enumerates several examples of reasons for which evidence of other crimes may be admissible.&lt;/span&gt; &lt;span data-paragraph-id="7738" data-sentence-id="8734" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"As the rule indicates, there are numerous other uses to which evidence of criminal acts may be put, and those enumerated are neither mutually exclusive nor collectively exhaustive."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7738" data-sentence-id="8917" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8734"&gt;&lt;span class="ldml-refname"&gt;1 Charles T. McCormick, &lt;i class="ldml-italics"&gt;McCormick on Evidence&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 190, at 659&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8734"&gt;&lt;span class="ldml-refname"&gt;John W. Strong&lt;/span&gt;, &lt;span class="ldml-cite"&gt;5th ed. 1999&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9009" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9009" data-sentence-id="9017" class="ldml-sentence"&gt;In order to be admissible, evidence must be relevant; and unless otherwise provided by &lt;span class="ldml-entity"&gt;constitution&lt;/span&gt;, &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, or rule, all relevant evidence is admissible.&lt;/span&gt; &lt;span data-paragraph-id="9009" data-sentence-id="9173" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9017"&gt;&lt;span class="ldml-cite"&gt;CRE 402&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9009" data-sentence-id="9182" class="ldml-sentence"&gt;Evidence is relevant, in the logical sense, as long as it is &lt;span class="ldml-quotation quote"&gt;"evidence having any tendency to make the existence of any fact that is of consequence to the determination of the action more probable or less probable than it would be without the evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9009" data-sentence-id="9436" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9182"&gt;&lt;span class="ldml-cite"&gt;CRE 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887890202" data-vids="887890202" class="ldml-reference" data-prop-ids="sentence_9182"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Carlson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;712 P.2d 1018, 1021-22&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9009" data-sentence-id="9504" class="ldml-sentence"&gt;Even logically relevant evidence may be excluded, however, &lt;span class="ldml-quotation quote"&gt;"if its probative value is substantially outweighed by the danger of unfair prejudice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9009" data-sentence-id="9651" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9504"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_9504"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Spoto v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;795 P.2d 1314, 1318&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9714" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9714" data-sentence-id="9722" class="ldml-sentence"&gt;Evidence of other, uncharged crimes may therefore be admissible if, but only if, it is logically relevant for some reason apart from an inference that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; acted in conformity with a character trait, and if the probative value of the evidence for that other reason is not substantially outweighed by the other policy considerations of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9722"&gt;&lt;span class="ldml-cite"&gt;Rule 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10076" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This court&lt;/span&gt; has previously considered the relevancy of other-crimes evidence within the scheme of the rules and has analyzed the requirements of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 401-404&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in four parts.&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10247" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_10076"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Spoto&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;795 P.2d at 1318&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10272" class="ldml-sentence"&gt;First, the other-crimes evidence must be offered as relating to a material fact.&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10353" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_10272"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10357" class="ldml-sentence"&gt;Second, it must be logically relevant by tending to make that material fact more probable or less probable.&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10465" class="ldml-sentence"&gt;Third, its logical relevance must be independent of the intermediate inference prohibited by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that is, the evidence must be probative for some logical reason other than &lt;span class="ldml-quotation quote"&gt;"that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; committed the crime charged because of the likelihood that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted in conformity with his bad character."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10772" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_10465"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10776" class="ldml-sentence"&gt;And fourth, the probative value of the evidence for that other reason may not be substantially outweighed by the danger of unfair prejudice caused by admitting the other-crimes evidence.&lt;/span&gt; &lt;span data-paragraph-id="9714" data-sentence-id="10963" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_10776"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10967" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10967" data-sentence-id="10975" class="ldml-sentence"&gt;In considering the effect of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; on the admissibility of other-crimes evidence, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have also emphasized that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he basic reasons &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_11112" data-val="1039" data-vol="44"&gt;&lt;/span&gt; for excluding other-crime evidence were set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886908089" data-vids="886908089" class="ldml-reference" data-prop-ids="sentence_10975"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Stull [v. People&lt;/span&gt;],&lt;/i&gt; &lt;span class="ldml-cite"&gt;140 Colo. 278&lt;/span&gt;, &lt;span class="ldml-cite"&gt;344 P.2d 455&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and these reasons are no less applicable today than &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were prior to the adoption of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10975"&gt;&lt;span class="ldml-cite"&gt;Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10967" data-sentence-id="11325" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887546390" data-vids="887546390" class="ldml-reference" data-prop-ids="sentence_10975"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Garner&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;806 P.2d 366, 372&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10967" data-sentence-id="11374" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11374"&gt;&lt;span class="ldml-cite"&gt;Rule 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is in accord with the long-accepted &lt;span class="ldml-entity"&gt;proposition&lt;/span&gt; that an inference of specific conduct drawn from evidence of criminal character is never sufficiently probative to be admitted to prove the accused committed a particular crime.&lt;/span&gt; &lt;span data-paragraph-id="10967" data-sentence-id="11612" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_11374"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Spoto&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;795 P.2d at 1318&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10967" data-sentence-id="11641" class="ldml-sentence"&gt;The inherent and universally recognized danger that evidence of uncharged misconduct will influence a jury to convict for an improper and unfairly prejudicial reason always serves as a strong counterweight to any probative value it may have.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11883" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11883" data-sentence-id="11891" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have recognized, however, that with the adoption of the rules of evidence, the analysis of the admissibility of such evidence has been significantly altered, making it admissible in some &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; in which it previously might have been excluded.&lt;/span&gt; &lt;span data-paragraph-id="11883" data-sentence-id="12136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887546390" data-vids="887546390" class="ldml-reference" data-prop-ids="sentence_11891"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Garner&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;806 P.2d at 370&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11883" data-sentence-id="12161" class="ldml-sentence"&gt;For example, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s burden of showing that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; actually committed the uncharged crime or act, which is required for its admission, has been reduced.&lt;/span&gt; &lt;span data-paragraph-id="11883" data-sentence-id="12331" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887546390" data-vids="887546390" class="ldml-reference" data-prop-ids="embeddedsentence_12336,sentence_12161"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that the former clear-and-convincing-evidence &lt;span class="ldml-entity"&gt;standard of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895737007" data-vids="895737007" class="ldml-reference" data-prop-ids="sentence_12161"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Botham&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;629 P.2d 589&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, has been supplanted by the preponderance-of-the-evidence standard dictated by CRE 104&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11883" data-sentence-id="12537" class="ldml-sentence"&gt;Similarly, the inclusionary formula of the rules of relevancy, permitting the admission of evidence &lt;i class="ldml-italics"&gt;unless&lt;/i&gt; its probative value is &lt;i class="ldml-italics"&gt;substantially outweighed&lt;/i&gt; by the danger of unfair prejudice, creates a rule more favorable for admission.&lt;/span&gt; &lt;span data-paragraph-id="11883" data-sentence-id="12772" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887546390" data-vids="887546390" class="ldml-reference" data-prop-ids="embeddedsentence_12798,sentence_12537"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 370, 373 n. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that the balancing test of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12537"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; has effectively overruled the pre-rules formulation of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893725273" data-vids="893725273" class="ldml-reference" data-prop-ids="sentence_12537"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Honey&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;198 Colo. 64, 67&lt;/span&gt;, &lt;span class="ldml-cite"&gt;596 P.2d 751, 754&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which inverted the policy choice and required the exclusion of other-crimes evidence unless its probative value outweighed its prejudicial effect&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see generally&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_13187,sentence_12537"&gt;&lt;span class="ldml-refname"&gt;Edward J. Imwinkelried, &lt;i class="ldml-italics"&gt;Uncharged Misconduct Evidence&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 2:31&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing change under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12537"&gt;&lt;span class="ldml-cite"&gt;Fed.R.Evid. 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to inclusionary view&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13253" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13253" data-sentence-id="13261" class="ldml-sentence"&gt;Perhaps most significantly, to the extent that the law in this jurisdiction had come to exclude evidence of other crimes unless it was offered for and met the strictures of certain narrowly circumscribed categories, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893725273" data-vids="893725273" class="ldml-reference" data-prop-ids="sentence_13261"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Honey&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;198 Colo. at 67-68&lt;/span&gt;, &lt;span class="ldml-cite"&gt;596 P.2d at 753-54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the rule is more open to general considerations of relevance.&lt;/span&gt; &lt;span data-paragraph-id="13253" data-sentence-id="13597" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; only requires the exclusion of evidence of other crimes, wrongs, or acts offered for the purpose of proving the character of a person in order to show that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted in conformity therewith.&lt;/span&gt; &lt;span data-paragraph-id="13253" data-sentence-id="13798" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; must articulate a precise evidential hypothesis by which a material fact can be permissibly inferred from the prior act that is independent of the inference forbidden by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, upon a showing of logical &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; and legal &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; relevance under that hypothesis, evidence of other crimes will not be excluded under the rules of relevance.&lt;/span&gt; &lt;span data-paragraph-id="13253" data-sentence-id="14170" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_13798"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Spoto&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;795 P.2d at 1318-19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14202" class="ldml-paragraph "&gt; &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="14202" data-sentence-id="14210" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="14202" data-sentence-id="14215" class="ldml-sentence"&gt;ADMISSIBILITY OF TRANSACTIONS INVOLVING L.L.&lt;/span&gt; &lt;span data-paragraph-id="14202" data-sentence-id="14260" class="ldml-sentence"&gt;AND P.B.&lt;/span&gt;&lt;/b&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14269" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14269" data-sentence-id="14277" class="ldml-sentence"&gt;In order to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; was guilty of kidnapping and sexual assault, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; was required to show that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; knowingly seized and carried the victim from one place to another without her consent and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; knowingly inflicted sexual intrusion or penetration on her by physical force or violence.&lt;/span&gt; &lt;span data-paragraph-id="14269" data-sentence-id="14605" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; heard &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;pretrial motion to admit&lt;/span&gt; the evidence of uncharged misconduct, and in a written order granted admission of all four transactions for the purpose of showing a common plan, scheme or design, modus operandi, motive or intent, and to refute &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s contention that the alleged victim's claim of sexual intercourse or contact was a fabrication.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14993" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14993" data-sentence-id="15001" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt; MATERIAL FACT&lt;/b&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15019" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15019" data-sentence-id="15027" class="ldml-sentence"&gt;The other-crimes evidence was therefore clearly offered as relating to a number of facts that were material or of consequence to the determination of the action, as required in the first step of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_15027"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Spoto&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_15232" data-val="1040" data-vol="44"&gt;&lt;/span&gt; analysis&lt;/span&gt;.&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="15019" data-sentence-id="15243" class="ldml-sentence"&gt;Some of the purposes for which the evidence was admitted were actual elements of the charged crimes, or ultimate facts to be proved, while others were intermediate or evidential facts, themselves probative of ultimate facts.&lt;/span&gt; &lt;span data-paragraph-id="15019" data-sentence-id="15468" class="ldml-sentence"&gt;Generally, in a criminal &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; the ultimate facts or elements consist of showing that the accused committed the guilty act, sometimes described as the &lt;span class="ldml-quotation quote"&gt;"identity"&lt;/span&gt; of the accused,&lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt; and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did so with the required intent or state of mind and without legal excuse or justification.&lt;/span&gt; &lt;span data-paragraph-id="15019" data-sentence-id="15756" class="ldml-sentence"&gt;Plan, scheme, design, modus operandi, and motive, while not usually elements or ultimate facts themselves, are among, or closely related to, those examples of permissible reasons enumerated in the rule and are well-accepted methods of proving the ultimate facts necessary to establish the commission of a crime, without reliance upon an impermissible inference from bad character.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16137" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16137" data-sentence-id="16145" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; expressly omitted &lt;span class="ldml-quotation quote"&gt;"identity"&lt;/span&gt; from the list of purposes for which the evidence would be admitted, it did so not from any failure to understand that the identity of the accused was necessarily a material element of the crime but rather because it considered the question of &lt;span class="ldml-quotation quote"&gt;"identity"&lt;/span&gt; to be no longer at issue in either the charged offense or the uncharged misconduct.&lt;/span&gt; &lt;span data-paragraph-id="16137" data-sentence-id="16537" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt;'s theory or concession,&lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt; however, extended only to an admission that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had given the victim a ride about the time and place of the alleged assault.&lt;/span&gt; &lt;span data-paragraph-id="16137" data-sentence-id="16699" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; therefore only found unnecessary, and only refused to admit, the other-crimes evidence to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was the person to whom the victim referred as giving her a ride and assaulting her.&lt;/span&gt; &lt;span data-paragraph-id="16137" data-sentence-id="16914" class="ldml-sentence"&gt;It in no way suggested, however, that the other-crimes evidence was unnecessary or inadmissible to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; actually committed the guilty act.&lt;/span&gt; &lt;span data-paragraph-id="16137" data-sentence-id="17073" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886422456" data-vids="886422456" class="ldml-reference" data-prop-ids="sentence_16914"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;State v. Griffin&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;142 Ohio App.3d 65&lt;/span&gt;, &lt;span class="ldml-cite"&gt;753 N.E.2d 967, 974&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Identity is not synonymous with mere presence."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16137" data-sentence-id="17193" class="ldml-sentence"&gt;Quite the contrary, by admitting the evidence as supportive of the victim's claim of sexual intercourse, as well as for common plan, scheme or design, modus operandi, and motive, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; made clear its intent to admit the evidence of other crimes precisely for the purpose of proving that the prohibited act was committed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17524" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17524" data-sentence-id="17532" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt; LOGICAL RELEVANCE&lt;/b&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17554" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17554" data-sentence-id="17562" class="ldml-sentence"&gt;Evidence of the incidents involving L.L. and P.B., upon which &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed, was also logically relevant to prove a material fact, as required in the second step of &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_17562"&gt;&lt;span class="ldml-refname"&gt;Spoto&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="17554" data-sentence-id="17750" class="ldml-sentence"&gt;Those incidents were part of a pattern of behavior by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; demonstrating a method for committing crimes like those for which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was on trial.&lt;/span&gt; &lt;span data-paragraph-id="17554" data-sentence-id="17901" class="ldml-sentence"&gt;Even though these two incidents were terminated by action of the victims before any completed act of sexual penetration, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were evidence from which the jury could find that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had a history of offering young women a ride as a ruse to isolate them and have sex with them, regardless of their consent.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18215" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18215" data-sentence-id="18223" class="ldml-sentence"&gt;Evidence indicating that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had offered young women a ride in the past for the purpose of having sex had at least some tendency to make it more probable as a logical matter that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intended to have sex with the victim in the charged offense, after admittedly offering her a ride under similar &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_18527" data-val="1041" data-vol="44"&gt;&lt;/span&gt; circumstances.&lt;/span&gt; &lt;span data-paragraph-id="18215" data-sentence-id="18543" class="ldml-sentence"&gt;In conjunction with evidence that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had sexually assaulted women on certain past occasions after similarly picking them up, as well as the victim's testimony in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; sexually assaulted her after picking her up, evidence of examples of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s scheme to pick up young women for the purpose of sexual gratification also had at least some tendency to make it more probable that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had sexual relations with the victim in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18215" data-sentence-id="19016" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18543"&gt;&lt;span class="ldml-cite"&gt;Wigmore, &lt;i class="ldml-italics"&gt;supra,&lt;/i&gt; §§ 302-03&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18215" data-sentence-id="19047" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19047"&gt;&lt;span class="ldml-cite"&gt;Rule 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s requirement of logical relevance is satisfied as long as the evidence in question has any tendency to make a fact of consequence more probable than it would be without that evidence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19241" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19241" data-sentence-id="19249" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt; INDEPENDENCE OF INFERENCE FROM BAD CHARACTER&lt;/b&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19298" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19298" data-sentence-id="19306" class="ldml-sentence"&gt;The chain of logical inferences from the evidence of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s prior conduct in step two is also independent of any inference that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; must have committed a sexual assault in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is a person of criminal character.&lt;/span&gt; &lt;span data-paragraph-id="19298" data-sentence-id="19542" class="ldml-sentence"&gt;The inference relied on arises not from the criminal character of the accused but from the demonstration of his pattern of using a particular technique to accomplish a particular end.&lt;/span&gt; &lt;span data-paragraph-id="19298" data-sentence-id="19726" class="ldml-sentence"&gt;The evidence tended to show that when &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did certain things, in a certain way, a number of times in the past, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did so with a criminal purpose, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; took affirmative action to accomplish that purpose.&lt;/span&gt; &lt;span data-paragraph-id="19298" data-sentence-id="19941" class="ldml-sentence"&gt;The evidential hypothesis by which the commission of the guilty act could properly be inferred is included in the term modus operandi, which is a traditional, if not precisely defined, expression of a legitimate way of proving the ultimate facts in a criminal case without reliance on an inference from bad character.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20259" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20259" data-sentence-id="20267" class="ldml-sentence"&gt;Although the other uncharged acts were therefore logically relevant without reliance upon the one impermissible inference, the more difficult question, as is virtually always &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, was whether the evidence of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s other crimes was sufficiently probative for legitimate purposes when balanced against the danger of unfair prejudice.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20614" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20614" data-sentence-id="20622" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20634" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20634" data-sentence-id="20642" class="ldml-sentence"&gt;In the final step of the analysis, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; necessarily retains a great deal of discretion, bearing in mind that the admission of uncharged misconduct always has a substantial potential for unfair prejudice.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="20857" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888394759" data-vids="888394759" class="ldml-reference" data-prop-ids="sentence_20642"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Nuanez&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;973 P.2d 1260, 1263&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893625985" data-vids="893625985" class="ldml-reference" data-prop-ids="sentence_20642"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Ibarra&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;849 P.2d 33, 38&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="20955" class="ldml-sentence"&gt;Beyond finding logical relevance, it must assess the weight that would be added to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s case by admitting the other-crimes evidence.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="21101" class="ldml-sentence"&gt;Unlike &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21101"&gt;&lt;span class="ldml-cite"&gt;Rule 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"relevance,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21101"&gt;&lt;span class="ldml-cite"&gt;Rule 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"probative value"&lt;/span&gt; is not considered in isolation but signifies the &lt;span class="ldml-quotation quote"&gt;"marginal"&lt;/span&gt; or &lt;span class="ldml-quotation quote"&gt;"incremental"&lt;/span&gt; probative value of evidence relative to the other evidence in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="21310" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890052369" data-vids="890052369" class="ldml-reference" data-prop-ids="sentence_21101"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Old Chief v. United States&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;519 U.S. 172, 184-85&lt;/span&gt;, &lt;span class="ldml-cite"&gt;117 S.Ct. 644&lt;/span&gt;, &lt;span class="ldml-cite"&gt;136 L.Ed.2d 574&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21101"&gt;&lt;span class="ldml-refname"&gt;1 Charles T. McCormick, McCormick on Evidence 782 &amp; n. 41 (John W. Strong&lt;/span&gt; &lt;span class="ldml-cite"&gt;ed. 4th ed. 1992&lt;/span&gt;)&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890286004" data-vids="890286004" class="ldml-reference" data-prop-ids="sentence_21101"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Saiz&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;32 P.3d 441, 446&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888394759" data-vids="888394759" class="ldml-reference" data-prop-ids="sentence_21101"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Nuanez&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;973 P.2d at 1263&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="21582" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must weigh &lt;span class="ldml-quotation quote"&gt;"the logical force of the evidence and the proponent's need for the evidence,"&lt;/span&gt; in light of other available evidence.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="21731" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886329642" data-vids="886329642" class="ldml-reference" data-prop-ids="sentence_21582"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Martin v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;738 P.2d 789, 794&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="21780" class="ldml-sentence"&gt;Finally, it must assess the danger of unfair prejudice and exclude the evidence if its &lt;span class="ldml-quotation quote"&gt;"incremental"&lt;/span&gt; probative value would be substantially outweighed by that danger.&lt;/span&gt; &lt;span data-paragraph-id="20634" data-sentence-id="21947" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886329642" data-vids="886329642" class="ldml-reference" data-prop-ids="embeddedsentence_21952,sentence_21780"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;where &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; stipulated to lawful confinement, mittimus showing his conviction for murder was not additionally probative of that element and should have been excluded as unfairly prejudicial&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22148" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22148" data-sentence-id="22156" class="ldml-sentence"&gt;The probative value or logical force of evidence of other crimes cannot be determined according to any precise formula.&lt;/span&gt; &lt;span data-paragraph-id="22148" data-sentence-id="22276" class="ldml-sentence"&gt;Depending on the purpose and theory of logical relevance advanced for its admission, the assessment of its probative value may involve a host of factors, including the distinctiveness of the other crimes and their relationship to the charged offense in terms of time and similarity.&lt;/span&gt; &lt;span data-paragraph-id="22148" data-sentence-id="22559" class="ldml-sentence"&gt;Contrary to the apparent assumption of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;, however, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; contains no separate requirement of similarity.&lt;/span&gt; &lt;span data-paragraph-id="22148" data-sentence-id="22688" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="embeddedsentence_22717,sentence_22559"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Spoto&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;795 P.2d at 1320&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"generally no similarity of conduct requirement concerning evidence of other &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_22794" data-val="1042" data-vol="44"&gt;&lt;/span&gt; crimes, wrongs or acts"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22148" data-sentence-id="22821" class="ldml-sentence"&gt;Under a particular evidential hypothesis, similarity may not be significant at all, and if significant, the nature and extent to which similarity is important may vary greatly.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22998" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22998" data-sentence-id="23006" class="ldml-sentence"&gt;When evidence of other crimes is offered to show &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s motive for committing a charged offense or to show that other crimes were part of the preparation or plan to commit a charged offense, similarity of the crimes often has no significance whatsoever.&lt;/span&gt; &lt;span data-paragraph-id="22998" data-sentence-id="23267" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889826038" data-vids="889826038" class="ldml-reference" data-prop-ids="sentence_23006"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Brooks&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;125 F.3d 484&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(evidence of &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s prior drug use admissible as motive for bank robbery)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23006" data-refglobal="case:unitedstatesofamericavlambno77-1347575f2d1310decidedmay17,1978"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Lamb&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;575 F.2d 1310&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(allowing under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23006"&gt;&lt;span class="ldml-cite"&gt;Fed.R.Evid. 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; evidence of prisoners' escape, kidnapping of guard, and commandeering of an apartment to show the prisoners' &lt;span class="ldml-quotation quote"&gt;"plan"&lt;/span&gt; to commit the charged robbery)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23006" data-refglobal="case:unitedstatesvhaldeman,559f2d31,81,181usappdc254,1fedrevidserv1203dccir1976"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Haldeman&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;559 F.2d 31&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.C.Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(evidence of prior uncharged office break-in admissible in trial for charged cover-up)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22998" data-sentence-id="23786" class="ldml-sentence"&gt;Even when evidence of other crimes is offered to demonstrate a common method or modus operandi, the degree of similarity necessary to give the evidence sufficient probative force for admission varies considerably depending upon the element or ultimate fact for which it is offered.&lt;/span&gt; &lt;span data-paragraph-id="22998" data-sentence-id="24068" class="ldml-sentence"&gt;Evidence of design or method offered to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, as distinguished from anyone else, committed the charged offense generally depends much more heavily on the distinctiveness and similarity of the crimes than evidence offered merely to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; acted intentionally.&lt;/span&gt; &lt;span data-paragraph-id="22998" data-sentence-id="24365" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887150396" data-vids="887150396" class="ldml-reference" data-prop-ids="sentence_24068"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Fields&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;871 F.2d 188&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;1st Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;`much greater degree of similarity... is required when the evidence of the other crime is introduced to prove identity'&lt;/span&gt; than when it is introduced for another of the myriad of reasons allowed under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24068"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-parenthetical"&gt;[Fed. R.Evid.]&lt;/span&gt; 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;...."&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_24682,sentence_24068"&gt;&lt;span class="ldml-cite"&gt;Wigmore, &lt;i class="ldml-italics"&gt;supra,&lt;/i&gt; §§ 302-04&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;distinguishing the degree of similarity required to prove identity from the lesser degree required to prove intent or mistake&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr7" class="ldml-noteanchor" id="note-ref-fr7"&gt;7&lt;/a&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24810" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24810" data-sentence-id="24818" class="ldml-sentence"&gt;Other-crimes evidence demonstrating a common design or modus operandi has been admitted in prosecutions for sexual assault not only to prove who committed the crime but also to prove that the alleged sex act actually occurred.&lt;/span&gt; &lt;span data-paragraph-id="24810" data-sentence-id="25045" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888576440" data-vids="888576440" class="ldml-reference" data-prop-ids="sentence_24818"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Luczak&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;306 Ill.App.3d 319&lt;/span&gt;, &lt;span class="ldml-cite"&gt;239 Ill.Dec. 698&lt;/span&gt;, &lt;span class="ldml-cite"&gt;714 N.E.2d 995, 1001&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24818" data-refglobal="case:peopleofthestateofillinoisvfullernos81-2194,81-2267454ne2d334,117illapp3d1026,73illdec474july19,1983"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Fuller&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;117 Ill.App.3d 1026&lt;/span&gt;, &lt;span class="ldml-cite"&gt;73 Ill.Dec. 474&lt;/span&gt;, &lt;span class="ldml-cite"&gt;454 N.E.2d 334, 341-43&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24810" data-sentence-id="25228" class="ldml-sentence"&gt;Like admission of other-crimes evidence to prove intent, its admission to prove the commission of the guilty act when identity is already conceded does not depend upon distinguishing &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; from others who also had the capacity and opportunity to commit the crime.&lt;/span&gt; &lt;span data-paragraph-id="24810" data-sentence-id="25500" class="ldml-sentence"&gt;Similarly, where the guilty act consists of an act like sexual intercourse, the other crimes need not make it more likely that the victim's injury was the result of an act of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; than of natural accident.&lt;/span&gt; &lt;span data-paragraph-id="24810" data-sentence-id="25715" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893002655" data-vids="893002655" class="ldml-reference" data-prop-ids="sentence_25500"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Woods&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;484 F.2d 127&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;4th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(admitting evidence that over a twenty-five-year period, nine children in &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s custody experienced twenty cyanotic episodes, for purpose of proving commission of actus reus)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24810" data-sentence-id="25952" class="ldml-sentence"&gt;Evidence of other acts to prove the commission of the guilty act is admissible under the various logical theories or evidential hypotheses that apply to other ultimate facts, but as with intent generally, the distinctiveness of preparatory acts is less significant in proving the actor's purpose or intention than in showing the identity of the actor.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26304" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26304" data-sentence-id="26312" class="ldml-sentence"&gt;Evidence of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s uncharged misconduct is clearly not admissible solely to bolster the testimony of &lt;span class="ldml-entity"&gt;a prosecution&lt;/span&gt; witness, but neither is it excluded merely because it may have that effect.&lt;/span&gt; &lt;span data-paragraph-id="26304" data-sentence-id="26512" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888576440" data-vids="888576440" class="ldml-reference" data-prop-ids="sentence_26312"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Luczak&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;714 N.E.2d at 1001&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26304" data-sentence-id="26544" class="ldml-sentence"&gt;If other-crimes evidence is otherwise admissible to prove a material fact by showing, for example, a common design or modus operandi, it may simultaneously &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_26700" data-val="1043" data-vol="44"&gt;&lt;/span&gt; corroborate the victim's testimony of the existence of that fact.&lt;/span&gt; &lt;span data-paragraph-id="26304" data-sentence-id="26767" class="ldml-sentence"&gt;Moreover, where disputed testimony of the victim is the only direct evidence of the commission of the guilty act, additional evidence that is probative of that fact may have particular &lt;span class="ldml-quotation quote"&gt;"marginal"&lt;/span&gt; or &lt;span class="ldml-quotation quote"&gt;"incremental"&lt;/span&gt; probative value.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26997" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26997" data-sentence-id="27005" class="ldml-sentence"&gt;Although there were obvious differences in the circumstances surrounding each transaction admitted in &lt;span class="ldml-entity"&gt;this prosecution&lt;/span&gt;, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; shared a number of significant characteristics that evidenced a pattern of behavior rather than isolated prior incidents.&lt;/span&gt; &lt;span data-paragraph-id="26997" data-sentence-id="27252" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887546390" data-vids="887546390" class="ldml-reference" data-prop-ids="embeddedsentence_27281,sentence_27005"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Garner&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;806 P.2d at 375&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;t is not essential that the means of committing the other crimes replicate in all respects the manner in which the crime charged was committed."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26997" data-sentence-id="27431" class="ldml-sentence"&gt;The two prior incidents that actually resulted in sexual penetration, in addition to involving similar preparatory acts, included distinctive and unpredictable personal details of the commission and aftermath of the assault that were so similar to those alleged by the victim of the charged crime as to virtually compel an inference that &lt;span class="ldml-entity"&gt;the act&lt;/span&gt; occurred or that the victim was acting in collusion with the prior victims.&lt;/span&gt; &lt;span data-paragraph-id="26997" data-sentence-id="27853" class="ldml-sentence"&gt;Particularly, the combination of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s disrobing preference, his fixation during the assault on meaningless physical anomalies of the victim, and his insistence on paying the victim as if &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had consensually performed a service would be difficult to invent in the absence of a similar sexual encounter.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28167" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28167" data-sentence-id="28175" class="ldml-sentence"&gt;In addition, however, the combination of all four incidents added substantial weight to the inference of a technique to isolate young women for the purpose of having sex.&lt;/span&gt; &lt;span data-paragraph-id="28167" data-sentence-id="28346" class="ldml-sentence"&gt;A greater number of incidents of similar behavior is important in proving that it is directed or purposive rather than coincidental.&lt;/span&gt; &lt;span data-paragraph-id="28167" data-sentence-id="28479" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_28346"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Spoto&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;795 P.2d at 1320&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28346"&gt;&lt;span class="ldml-cite"&gt;Wigmore, &lt;i class="ldml-italics"&gt;supra,&lt;/i&gt; § 302&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28167" data-sentence-id="28531" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not admit the assaults in any of &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt;, each of the five was to some extent dependent upon the others to prove that sexual encounters were intended by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s preparatory behavior and that sexual assaults actually occurred unless the victims were able to escape.&lt;/span&gt; &lt;span data-paragraph-id="28167" data-sentence-id="28832" class="ldml-sentence"&gt;Although the incidents involving L.L. and P.B. were interrupted by the victims' escape, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were nevertheless similar in significant aspects and substantially contributed to the inference that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s technique of isolating vulnerable females by offering them a ride and driving them to a secluded location was preliminary to and for the purpose of sexual gratification.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29212" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29212" data-sentence-id="29220" class="ldml-sentence"&gt;While preparatory acts or even overt attempts, standing alone, may sometimes be insufficiently probative of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s unfulfilled intention, in conjunction with evidence of consummated crimes resulting from similar preparations, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can form a pattern of behavior that is probative of the commission of &lt;span class="ldml-entity"&gt;the act&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29212" data-sentence-id="29537" class="ldml-sentence"&gt;Furthermore, to the extent that the incidents are further removed from a completed crime, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; correspondingly present less of a danger of unfair prejudice.&lt;/span&gt; &lt;span data-paragraph-id="29212" data-sentence-id="29694" class="ldml-sentence"&gt;To the extent that the incidents involving L.L. and, especially, P.B were less probative of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s intention to commit sexual assault, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were also less serious, heinous, or egregious, than the three sexual assaults presented to the jury and were less likely to have an inflammatory effect.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29996" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29996" data-sentence-id="30004" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Trial courts&lt;/span&gt; are necessarily accorded considerable discretion in deciding questions concerning the admissibility of evidence, and an abuse of that discretion will be found only upon a showing that the ruling was manifestly arbitrary, unreasonable, or unfair.&lt;/span&gt; &lt;span data-paragraph-id="29996" data-sentence-id="30263" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30263" data-refglobal="case:peoplevharris,no00sc185"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Harris&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;No. 00SC185&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, slip op. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30263"&gt;&lt;span class="ldml-cite"&gt;at 11&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2002 WL 372916&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;Mar.11, 2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29996" data-sentence-id="30347" class="ldml-sentence"&gt;Because the balance required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; favors admission, a reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; must afford the evidence the maximum probative value attributable by a reasonable fact finder and the minimum unfair prejudice to be reasonably expected.&lt;/span&gt; &lt;span data-paragraph-id="29996" data-sentence-id="30577" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887533660" data-vids="887533660" class="ldml-reference" data-prop-ids="sentence_30347"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Gibbens&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;905 P.2d 604, 607&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29996" data-sentence-id="30631" class="ldml-sentence"&gt;Evidence of uncharged crimes has a distinct and unmistakable potential for unfair prejudice, but unfair prejudice within the meaning of the rule still refers only to &lt;span class="ldml-quotation quote"&gt;"an undue tendency on the part of admissible evidence to suggest a decision made on an improper basis"&lt;/span&gt; and does not mean prejudice that results from the legitimate probative force of the evidence.&lt;/span&gt; &lt;span data-paragraph-id="29996" data-sentence-id="30994" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887533660" data-vids="887533660" class="ldml-reference" data-prop-ids="sentence_30631"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31006" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31006" data-sentence-id="31014" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; heard the &lt;span class="ldml-entity"&gt;motion to admit&lt;/span&gt; evidence of other crimes and the objections to it.&lt;/span&gt; &lt;span data-paragraph-id="31006" data-sentence-id="31107" class="ldml-sentence"&gt;It demonstrated its awareness of the applicable law controlling the admission of &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-id="pagenumber_31188" data-val="1044" data-vol="44"&gt;&lt;/span&gt; other-crimes evidence, and it made findings as to each of the four steps of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_31107"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Spoto&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; test&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31006" data-sentence-id="31281" class="ldml-sentence"&gt;It even modified the list of purposes for which the evidence would be admissible that was proposed by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, notably disallowing the other-crimes evidence to identify &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31006" data-sentence-id="31473" class="ldml-sentence"&gt;In light of the considerations already articulated, it cannot be fairly said by a reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in finding that the probative value of the other-crimes evidence admitted in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; was substantially outweighed by the danger of unfair prejudice.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31765" class="ldml-paragraph "&gt; &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="31765" data-sentence-id="31773" class="ldml-sentence"&gt;IV.&lt;/span&gt; &lt;span data-paragraph-id="31765" data-sentence-id="31777" class="ldml-sentence"&gt;CONCLUSION&lt;/span&gt;&lt;/b&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31788" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31788" data-sentence-id="31796" class="ldml-sentence"&gt;In finding reversible error, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; misperceived the import of our application of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31796"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to the introduction of uncharged criminal misconduct evidence and misapplied the four-part &lt;span class="ldml-entity"&gt;analysis of &lt;span class="ldml-entity"&gt;&lt;i class="ldml-italics"&gt;People&lt;/i&gt;&lt;/span&gt;&lt;/span&gt;&lt;i class="ldml-italics"&gt; v. Spoto.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="31788" data-sentence-id="32043" class="ldml-sentence"&gt;Properly considered, the concerns of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; amount to a disagreement about the balance of probative value and prejudicial effect required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31788" data-sentence-id="32207" class="ldml-sentence"&gt;Accordingly, the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; is reversed and &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; is remanded with directions that the judgment of conviction and sentence be affirmed.&lt;/span&gt;
 &lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="32392" class="ldml-paragraph "&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1.&lt;/a&gt; &lt;span data-paragraph-id="32392" data-sentence-id="32393" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s petition for certiorari on the following question:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32468" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32468" data-sentence-id="32476" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in holding, based on its application of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-10-301, 6 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion and committed reversible error in admitting prior act evidence relating to victims L.L. and P.B.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32743" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32743" data-sentence-id="32751" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; denied &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;cross-petition&lt;/span&gt; for certiorari on the following two issues:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32836" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32836" data-sentence-id="32844" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="32836" data-sentence-id="32847" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; committed reversible error when it permitted &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; to introduce &lt;span class="ldml-quotation quote"&gt;"similar"&lt;/span&gt; transaction evidence regarding J.H. and T.C. while was stale, dissimilar, irrelevant, and unduly prejudicial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33064" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="33064" data-sentence-id="33072" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="33064" data-sentence-id="33075" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;Defendant&lt;/span&gt; was erroneously deprived of access to the department of social services records related to the alleged victim.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="33204" class="ldml-paragraph "&gt; &lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2.&lt;/a&gt; &lt;span data-paragraph-id="33204" data-sentence-id="33213" class="ldml-sentence"&gt;Prior to the adoption of the rules of evidence, the Colorado General Assembly had made clear by &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; that evidence of other criminal transactions would be admissible in prosecutions for sexual offenses for the same reasons it was admissible in prosecutions for other offenses.&lt;/span&gt; &lt;span data-paragraph-id="33204" data-sentence-id="33493" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33213"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-301, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(Supp.1995)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(substantially amended effective &lt;span class="ldml-entity"&gt;July 1, 1996&lt;/span&gt;, &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33213"&gt;&lt;span class="ldml-cite"&gt;ch. 280, sec. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33213"&gt;&lt;span class="ldml-cite"&gt;1996 Colo. Sess. Laws 1578, 1589&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33204" data-sentence-id="33635" class="ldml-sentence"&gt;Whether or not &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; would have permitted other-crimes evidence in prosecutions for sexual offenses even more liberally than &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887104001" data-vids="887104001" class="ldml-reference" data-prop-ids="sentence_33635"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pigford v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;197 Colo. 358&lt;/span&gt;, &lt;span class="ldml-cite"&gt;593 P.2d 354&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891436456" data-vids="891436456" class="ldml-reference" data-prop-ids="sentence_33635"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Opson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;632 P.2d 602&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, apart from separately requiring a prima facie case of the charged offense &lt;span class="ldml-parenthetical"&gt;(which is not at issue on this appeal)&lt;/span&gt;, nothing in &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; purported to exclude evidence that would otherwise be admissible under the rule, nor has such a suggestion been made by &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; to this appeal.&lt;/span&gt; &lt;span data-paragraph-id="33204" data-sentence-id="34170" class="ldml-sentence"&gt;It is enough therefore that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not abuse its discretion in admitting the other crimes evidence at issue here pursuant to the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34170"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="34343" class="ldml-paragraph "&gt; &lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3.&lt;/a&gt; &lt;span data-paragraph-id="34343" data-sentence-id="34352" class="ldml-sentence"&gt;Although the concept of materiality no longer has independent significance in the scheme of the rules, and is instead subsumed within the notion of logical relevance, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have found it helpful in emphasizing the obligation of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to offer &lt;span class="ldml-parenthetical"&gt;(and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to admit)&lt;/span&gt; other-crimes evidence only for specific purposes, to distinguish the two concepts.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="34723" class="ldml-paragraph "&gt; &lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4.&lt;/a&gt; &lt;span data-paragraph-id="34723" data-sentence-id="34732" class="ldml-sentence"&gt;In its holding &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; added to the first step of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_34732"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Spoto&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; analysis&lt;/span&gt; the requirement that the material fact for which the other-crimes evidence is offered be &lt;span class="ldml-quotation quote"&gt;"contested."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34723" data-sentence-id="34916" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34732"&gt;&lt;span class="ldml-refname"&gt;Slip op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34723" data-sentence-id="34931" class="ldml-sentence"&gt;Whether a material fact is contested clearly affects the need for or incremental probative value of the evidence offered to prove it, but it does not make the fact itself any less material or the evidence offered to prove it any less logically probative.&lt;/span&gt; &lt;span data-paragraph-id="34723" data-sentence-id="35186" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; therefore incorrectly found that the evidence failed to satisfy the first step &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416739" data-vids="895416739" class="ldml-reference" data-prop-ids="sentence_35186"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Spoto&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; test&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35302" class="ldml-paragraph "&gt; &lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5.&lt;/a&gt; &lt;span data-paragraph-id="35302" data-sentence-id="35311" class="ldml-sentence"&gt;Because the question of whether the accused committed the criminal act contains the subquestions of whether &lt;span class="ldml-entity"&gt;the act&lt;/span&gt; was committed by someone and whether, if so, the accused was the person who committed it, the broader question has sometimes been separated into the questions of &lt;span class="ldml-quotation quote"&gt;"identity"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"commission of the actus reus."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35302" data-sentence-id="35636" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35311"&gt;&lt;span class="ldml-refname"&gt;Imwinkelried&lt;/span&gt;, &lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;supra&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;ch.4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35674" class="ldml-paragraph "&gt; &lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6.&lt;/a&gt; &lt;span data-paragraph-id="35674" data-sentence-id="35683" class="ldml-sentence"&gt;At the &lt;span class="ldml-entity"&gt;motions hearing&lt;/span&gt; &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; indicated that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had a &lt;span class="ldml-quotation quote"&gt;"stipulation to ID,"&lt;/span&gt; and defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; made clear at both the hearing and in his opening statement at trial that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was the person who picked the victim up and gave her a ride.&lt;/span&gt; &lt;span data-paragraph-id="35674" data-sentence-id="35934" class="ldml-sentence"&gt;The precise limits and legal effect of any concession by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; remain unclear, however, because no stipulation was ever submitted to the jury.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="36085" class="ldml-paragraph "&gt; &lt;a href="#note-ref-fr7" class="ldml-notemarker" id="note-fr7"&gt;7.&lt;/a&gt; &lt;span data-paragraph-id="36085" data-sentence-id="36094" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See generally&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_36138,sentence_24365"&gt;&lt;span class="ldml-refname"&gt;Imwinkelried&lt;/span&gt;, &lt;i class="ldml-italics"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;§§ 8:07&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[U]&lt;/span&gt;nder some theories of logical relevance, the uncharged act need not be similar to the charged act.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Moreover, even among theories requiring similarity, the required degree of similarity varies.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The modus theory of identifying &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; as the criminal requires the highest degree of similarity while &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Dean Wigmore&lt;/span&gt;'s]&lt;/span&gt; doctrine of chances demands less similarity to prove the occurrence of an actus reus or guilty state of mind"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, 5:08 &lt;span class="ldml-parenthetical"&gt;(degree of required similarity less when proving intent through Wigmore's doctrine of chances than when proving identity through modus operandi)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
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